            Case 8:16-cv-01363-PX Document 11 Filed 10/20/17 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

                                                  :
Theresa Miller,                                   :
                                                  : Civil Action No. 8:16-cv-01363-PX
                      Plaintiff,                  :
       v.                                         :
                                                  :
National Credit Adjusters, LLC,                   :
                                                  :
                      Defendant.                  :
                                                  :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. Plaintiff anticipates filing a Notice of Withdrawal of Complaint and Voluntary

Dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days. Plaintiff

hereby respectfully requests the above-entitled Court to enter the Rule 111 Order.



Dated: October 20, 2017

                                             Respectfully submitted,

                                             By     /s/ Sergei Lemberg
                                             Sergei Lemberg, Esq.
                                             LEMBERG LAW, LLC
                                             43 Danbury Road, 3rd Floor
                                             Wilton, CT 06897
                                             Telephone: (203) 653-2250
                                             Facsimile: (203) 653-3424
                                             Email: slemberg@lemberglaw.com
                                             ATTORNEYS FOR PLAINTIFF
          Case 8:16-cv-01363-PX Document 11 Filed 10/20/17 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I hereby certify that on October 20, 2017, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court District of Maryland
Electronic Document Filing (ECF) system and that the document is available on the ECF system.

                                             /s/ Sergei Lemberg
                                             Sergei Lemberg, Esq.
